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 8                      UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA

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11                                                    Case No.: 8:22-ml-03052-JVS-KES
     In Re: KIA HYUNDAI VEHICLE THEFT
12 MARKETING, SALES PRACTICES,
                                                      ORDER GRANTING CONSUMER
13 AND PRODUCTS LIABILITY                             CLASS PLAINTIFFS’ AMENDED
     LITIGATION                                       MOTION FOR PRELIMINARY
14
                                                      APPROVAL OF CLASS ACTION
15                                                    SETTLEMENT [254]
16

17 This document relates to:

18                                                    Judge: Hon. James V. Selna
19
                                                      Date: October 30, 2023
   ALL CONSUMER CLASS ACTION                          Time: 1:30 p.m.
20 CASES                                              Courtroom: 10C
21

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            ORDER GRANTING PLS.’ AMEND. MOT. FOR PRELIM. APPROVAL OF CLASS ACTION SETTLEMENT
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 1        The parties to the above-captioned action pending against Defendants Hyundai
 2 Motor Company (“HMC”), Hyundai Motor America (“HMA”), KIA Corporation

 3 (“KC”), and KIA America, Inc. (“KA”) (collectively “Defendants”)1 have agreed to a

 4 proposed class action settlement, the terms and conditions of which are set forth in an

 5 executed Amended Settlement Agreement filed on October 26, 2023.2 The Parties

 6 reached the Settlement through arm’s-length negotiations under the guidance of

 7 mediator the Honorable Margaret M. Morrow (Ret.). Under the Settlement

 8 Agreement, and subject to the terms and conditions therein and Court approval, the

 9 Action will be dismissed with prejudice, and the proposed Class Representatives and

10 the proposed Settlement Class will release their claims against Releasees in exchange

11 for the consideration set forth in the Settlement Agreement.

12        This Court, with the Honorable James V. Selna presiding, conducted two
13 hearings regarding Consumer Class Plaintiffs’ Motion for Preliminary Approval of

14 Class Action Settlement (the “Motion”). Upon considering the Motion and exhibits

15 thereto, the Amended Settlement Agreement (ECF 247) and related documents and

16 exhibits, the record in these proceedings, the representations and recommendations of

17 Class Counsel, and the requirements of law, the Court finds that:

18        1) This Court has jurisdiction over the subject matter and Parties to these
19           proceedings;
20        2) The Settlement Class meets the requirements of Rule 23 of the Federal
21           Rules of Civil Procedure and should be preliminarily certified for settlement
22           purposes only;
23        3) The persons and entities identified below should be appointed Class
24           Representatives and Class Counsel for settlement purposes only;
25

26
     1
27  Plaintiffs and Defendants are collectively referred to as the “Parties.”
     2
    All capitalized terms shall have the same meaning as in the Amended Settlement
28 Agreement, attached to the Amended Leadership Decl. as Ex. 1.
                                                   1
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 1        4) The Settlement is the result of informed, good-faith, arm’s-length
 2           negotiations between the Parties and their capable and experienced counsel
 3           and is not the result of collusion;
 4        5) The Settlement is fair, reasonable, and adequate and should be preliminarily
 5           approved;
 6        6) The Settlement is sufficiently fair, reasonable, and adequate to warrant
 7           dissemination of Settlement notice to the Settlement Class;
 8        7) The proposed notice plan and forms of notice satisfy Rule 23 and due
 9           process     requirements,      and    are    reasonably     calculated      under   the
10           circumstances to apprise the Settlement Class of the pendency of the
11           Action, preliminary class certification for settlement purposes only, the
12           terms of the Settlement, details regarding Class Counsel’s motion for an
13           award of attorneys’ fees and expenses and request for Class Representative
14           service awards, their rights to opt-out of the Settlement Class or object to
15           the Settlement, and the process for submitting a claim;
16        8) Good cause exists to schedule and conduct a Final Approval Hearing under
17           Rule 23(e), to assist the Court in determining whether to grant final
18           approval of the Settlement, certify the Settlement Class for settlement
19           purposes only, and issue a Final Approval Order and Judgment, and
20           whether to grant Class Counsel’s motion for an award of attorneys’ fees and
21           expenses and request for Class Representative service awards; and
22        9) Whether other related matters pertinent to the preliminary approval of the
23           Settlement should also be approved.
24        Based on the foregoing, THE COURT HEREBY GRANTS THE MOTION
25 FOR     PRELIMINARY APPROVAL AND MAKES THE FOLLOWING
26 FINDINGS AND ORDERS:

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 1        The Court finds that it has jurisdiction over the Action and the Parties under 28
 2 U.S.C. §§ 1331 and 1332 for purposes of settlement, and venue is proper in this

 3 district under 28 U.S.C. § 1391(a). The Court shall retain continuing jurisdiction for

 4 the purpose of enforcing the Settlement Agreement after the entry of a Final Order

 5 and Judgment.

 6   Preliminary Class Certification for Settlement Purposes Only, and Appointment
 7                         of Class Representatives and Class Counsel
 8        1.       In deciding whether to preliminarily certify a settlement class, the Court
 9 must consider the same factors it would consider in connection with a proposed

10 litigation class—i.e., all Rule 23(a) factors and at least one subsection of Rule 23(b)

11 must be satisfied—except that the Court need not consider the manageability of a

12 potential trial, since the Settlement, if approved, would obviate the need for a trial.

13 Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997); Wang v. Chinese Daily

14 News, Inc., 737 F.3d 538, 542-44 (9th Cir. 2013).

15        2.       Where, as here, “the parties negotiate a settlement agreement before the
16 class has been certified, settlement approval requires a higher standard of fairness and

17 a more probing inquiry than may be normally required under Rule 23(e).” Roes 1-2 v.

18 SFBSC Mgmt., LLC, 944 F.3d 1035, 1048 (9th Cir. 2019); In re Apple Inc. Device

19 Performance Litig., 2022 WL 4492078, at *8 (9th Cir. Sept. 28, 2022).

20        3.       The Court finds the requirements of Rule 23 of the Federal Rules of
21 Civil Procedure and other laws and rules applicable to preliminary settlement

22 approval of class actions have been satisfied. The proposed Settlement appears to be

23 the product of serious, informed negotiations that were conducted in good faith and at

24 arms’ length between the Parties’ counsel and falls within the range of possible

25 approval as fair, reasonable, and adequate. See Rodriguez v. West Publ’g Corp., 563

26 F.3d 948 (9th Cir. 2009). Therefore, the Court preliminarily approves the Settlement

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 1 of this Action as memorialized in the Settlement Agreement, and finds it will be

 2 likely to certify the following Class for settlement purposes only:

 3         All persons or entities who purchased or leased a Class Vehicle3 in the
 4
           United States (including Puerto Rico, Virgin Islands, and Guam).
           Excluded from the Class are Defendants; any affiliate, parent, or
 5         subsidiary of Defendants; any entity in which Defendants has a
 6         controlling interest; any officer, director, or employee of Defendants;
           any successor or assign of Defendants; any judge to whom this Action is
 7         assigned, his or her spouse, and all persons within the third degree of
 8         relationship to either of them, as well as the spouses of such persons. In
           addition, excluded from the Class are individuals and/or entities who
 9         validly and timely opt-out. Also excluded from the Class are subrogated
10         Insurance Entities, Government Entities with claims in MDL No. 8:22-
           ml-03052, consumers and businesses, including insurers, that have
11         purchased or otherwise obtained title for Class Vehicles previously
12         deemed a total loss (i.e., salvage or junkyard vehicles) (subject to
           verification through Carfax or other means) and current or former
13         owners of Class Vehicles that previously released their claims in an
14         individual settlement with one or more Defendants with respect to the
           issues raised in the Action.
15
           4.       Specifically, the Court finds, for settlement purposes, that the Settlement
16
     Class satisfies the following factors of Rule 23:
17
                    a.      Numerosity: Millions of individuals located across the country are
18
     members of the Settlement Class. Their joinder is impracticable. Thus, the Rule
19
     23(a)(1) numerosity requirement is met. See Patrick v. Volkswagen Grp. of Am., 2021
20

21

22   3
       The Class Vehicles include certain model year 2011-2022 Hyundai and Kia vehicles
23   manufactured without an engine immobilizer that were sold in the United States
     (including Puerto Rico, Virgin Islands, and Guam): 2011-2022 Accent; 2011-2022
24   Elantra; 2013-2020 Elantra GT; 2013-2014 Elantra Coupe; 2011-2012 Elantra
25   Touring; 2011-2014 Genesis Coupe; 2018-2022 Kona; 2020-2021 Palisade; 2011-
     2022 Santa Fe; 2013-2018 Santa Fe Sport; 2019 Santa Fe XL; 2011-2019 Sonata;
26   2011-2022 Tucson; 2012-2017, 2019-2021 Veloster; 2020-2021 Venue; 2011-2012
27   Veracruz; 2011-2021 Forte; 2021-2022 K5; 2011-2020 Optima; 2011-2021 Rio;
     2011-2021 Sedona; 2021-2022 Seltos; 2011-2022 Soul; 2011-2022 Sorento; and
28   2011-2022 Sportage. ASA, § I.G.
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 1 WL 3616105, at *1 (C.D. Cal. Mar. 10, 2021) (finding numerosity satisfied where the

 2 class size consisted of 14,847 settlement class vehicles sold in the United States).

 3               b.      Commonality: The threshold for commonality under Rule 23(a)(2)
 4 is not high. The common question “must be of such a nature that it is capable of

 5 classwide resolution – which means that determination of its truth or falsity will

 6 resolve an issue that is central to the validity of each one of the claims in one stroke.”

 7 Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). Here, the commonality

 8 requirement is satisfied for settlement purposes because each Class member’s claims

 9 stem from common questions, including: (1) whether the Class Vehicles contain a

10 safety defect; (2) whether Defendants had knowledge of the alleged defect at the time

11 of sale; (3) whether Defendants concealed the alleged defect; and (4) whether

12 Defendants’ conduct violates the consumer protection statutes alleged, and the

13 implied warranty of merchantability. Each of these questions gives rise to common

14 answers, which would “drive the resolution of the litigation” for the Class. Id.

15               c.      Typicality: Consumer Plaintiffs’ claims are typical of the
16 Settlement Class for purposes of this Settlement because they concern the same

17 general alleged conduct, arise from the same legal theories, and allege the same types

18 of harm and entitlement to relief. Rule 23(a)(3) is therefore satisfied. See In re

19 Chrysler-Dodge-Jeep Ecodiesel Mktg., Sales Pracs., & Prod. Liab. Litig. (“FCA

20 EcoDiesel”), 2019 WL 536661, at *5 (N.D. Cal. Feb. 11, 2019) (finding typicality

21 satisfied where plaintiffs’ claims were based on the same pattern of wrongdoing as

22 those brought on behalf of class members).

23               d.      Adequacy: Adequacy under Rule 23(a)(4) relates to: (1) whether
24 the Class Representatives have interests antagonistic to the Class; and (2) whether

25 Class Counsel have the competence to undertake the litigation at issue. See In re

26 Volkswagen “Clean Diesel” Mktg., Sales Practices, & Prods. Liab. Litig. (“VW

27 Clean Diesel”), 2017 WL 672820, at *5 (N.D. Cal. Feb. 16, 2017). Rule 23(a)(4) is

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 1 satisfied here because there are no conflicts of interest between Consumer Plaintiffs

 2 and the Settlement Class, and Consumer Plaintiffs have retained competent counsel to

 3 represent them and the Settlement Class. Class Counsel here regularly litigate

 4 consumer and automotive class actions and other complex litigation similar to the

 5 Action, and have dedicated substantial resources to the prosecution of the Action.

 6 Moreover, Consumer Plaintiffs and Class Counsel have vigorously and competently

 7 represented the Class members’ interests in the Action.

 8              e.      Predominance and Superiority: With respect to predominance,
 9 Rule 23(b)(3) requires the Court to find “the questions of law or fact common to class

10 members predominate over any questions affecting only individual members, and that

11 a class action is superior to other available methods for fairly and efficiently

12 adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). The “predominance inquiry

13 tests whether proposed classes are sufficiently cohesive to warrant adjudication by

14 representation… [and] focuses on the relationship between the common and

15 individual issues.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1022 (9th Cir. 1998).

16 “There is no definitive test for determining whether common issues predominate,

17 however, in general, predominance is met when there exists generalized evidence

18 which proves or disproves an [issue or] element on a simultaneous, class-wide

19 basis….” Herrera v. Wells Fargo Bank, N.A., 2021 WL 3932257, at *6 (C.D. Cal.

20 June 8, 2021) (citation omitted). The presence of certain issues that are not suitable

21 for class-wide adjudication, such as affirmative defenses peculiar to some individuals,

22 do not defeat predominance. Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453

23 (2016). Based on the record currently before the Court, the predominance

24 requirement is satisfied here for settlement purposes because common questions

25 present a significant aspect of the case and can be resolved for all Class members in a

26 single common judgment. See VW Clean Diesel, 2017 WL 672820, at *8.

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 1        5.       The Court previously appointed Steve W. Berman of Hagens Berman
 2 Sobol Shapiro LLP, Elizabeth A. Fegan of Fegan Scott LLC, Kenneth B. McClain of

 3 Humphrey Farrington & McClain, P.C., and Roland Tellis of Baron & Budd, P.C. to

 4 the Consumer Class Action Leadership Committee. Dkt. 50 at 3. The Court now

 5 hereby appoints Steve W. Berman, Elizabeth A. Fegan, Kenneth B. McClain, and

 6 Roland Tellis as Class Counsel for settlement purposes.

 7        6.       Class Counsel further applied for appointment of Consumer Plaintiffs as
 8 Class Representatives for settlement purposes. Having considered that application,

 9 the Court hereby appoints Consumer Plaintiffs as Class Representatives for

10 settlement purposes.4

11                            Preliminary Approval of the Settlement
12        7.       Upon preliminary evaluation, there are no indications that the Settlement
13 is the product of fraud or overreaching by, or collusion between, the negotiating

14 parties. See Officers for Just. v. Civil Serv. Comm’n of City and Cnty of S.F., 688 F.2d

15

16   4
       Consumer Plaintiffs are: Kari Eldridge, Brittany Kingsbury, Miyoshi Morrow,
17   Stefani Poblete Taylor, Adam Lippert, Michael Kay, Mollie McGeehon, Herbert
     Taylor, Arlecia Brown, Edith Bucio, Matthew Pavonetti, Jason Reyes, Ann Brady,
18   Mark Thompson, Renee Ledet, Ian Michael Scott, Irene Beach, Leilani Cabrera,
19   John Dylan Burton, Eric Bain, Steven Hufford, Talysia Ruff, Tyler McGill, John
     McGraw, Cameron Morton, Lexii Cummings, Matthew Jacobsen, Dennette Ray,
20   Brian Helm, Adriana Pilant, Luis Enrique Vargas Rodriguez, David Lucas, Leanna
21   Adams, Iona Barnes, Craig Granville, Jisun Kang, Michelle Pollack, Rachel Perry,
     Claire Roberts, Mary Kathryn Morrison, Patricia Sumpterbynum, Kristina McKnight,
22   Trina Johnson, Marcella Blum, Matthew Butler, Kayla Collyer, David Larsen,
23   Anthony Loburgio, Katelyn McNerney, Eryca Smith, Dave Sessions, Tajia Turner,
     Laura Roberts, Hubert Matthews, Rita Day, Kasey Weinfurtner, Charles Hession,
24   Molly O’Connor, Rejene Jackson, Tiffany Devonish, Darlene Bennor, Jacquella
25   Russell, Lauren Hernandez, John Pope, Pauline Ragsdale, Kathy Hughes, Rosemary
     Winner Johnson, Maggie Ketchie, Peggy Ciafullo, Amber Hall, Michael Ryle, James
26   DePorche, Ronald DeSarro, Teresa Harris, Cameron Cunningham, Shatoya
27   McKinney, Gerald Smith, Lauren Kawetschansky, Shana Eberhardt, Michelle
     Wagner, Adrian Matthews, Carolyn Catlos, Albert Lui, Nadine Quate Francis and
28   Michael Scalise.
                                                      7
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 1 615, 625 (9th Cir. 1982). The Settlement appears to be the result of extensive, good-

 2 faith, arm’s-length negotiations that took place between the parties by counsel who

 3 are experienced in similar litigation under the guidance of mediator the Honorable

 4 Margaret M. Morrow (Ret.), and which followed meaningful investigation and

 5 discovery that was sufficient to enable counsel and the Court to make informed

 6 decisions. See Manual for Complex Litigation (Third) § 30.42 (West 1995) (“A

 7 presumption of fairness, adequacy, and reasonableness may attach to a class

 8 settlement reached in arm’s-length negotiations between experienced, capable

 9 counsel after meaningful discovery.”).

10         8.       The Settlement provides the following benefits to the Settlement Class.
11                  a. Common Fund for Out-of-Pocket and Unreimbursed Losses
12         As detailed in the Settlement Agreement, a non-reversionary common fund of
13 $80 million to $145 million, established by Defendants to pay Class members who

14 submit an approved claim for certain out-of-pocket losses related to the Theft Prone

15 Defect, including those arising from the Qualifying Theft or Qualifying Theft

16 Attempt of Class Vehicles.

17                  b. Anti-Theft Software Upgrade and Steering Wheel Lock
                       Reimbursement for Eligible Class Vehicles
18
           As detailed in the Settlement Agreement, a free Software Upgrade for Class
19
     members with an eligible Class Vehicle, and reimbursement for certain steering
20
     wheel lock purchases for Class members with an eligible Class Vehicle that submit
21
     an approved claim (paid separate from the common fund).
22
                    c. Payments for Anti-Theft Devices for Class Vehicles Ineligible for
23                     the Software Upgrade
24         As detailed in the Settlement Agreement, reimbursement payments for certain
25 steering wheel lock and other antitheft device purchases for Class members with a

26 Class Vehicle ineligible for the Software Upgrade that submit an approved claim

27 (paid separate from the common fund).

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 1        9.       The Court concludes the Settlement is sufficiently fair, adequate, and
 2 reasonable to warrant preliminary approval. There is a sufficient “record supporting

 3 the conclusion that the proposed settlement will likely earn final approval after notice

 4 and an opportunity to object.” Fed. R. Civ. P. 23(e)(1), 2018 advisory committee

 5 notes. The Court finds that it will likely be able to approve the proposed Settlement

 6 Class under Rule 23(e)(2) because the Settlement Class and its representatives likely

 7 meet all relevant requirements of Rule 23(a) and Rule 23(b)(3).

 8                                      Claims Administration
 9        10.      The Court appoints Angeion Group, LLC to serve as Settlement
10 Administrator in this Action.

11        11.      Claims made by Class members under this Settlement must comply with
12 the terms of the Settlement Agreement, and may be submitted by U.S. mail, email, or

13 through the dedicated Settlement website.

14        12.      The Settlement Administrator shall review, process, manage, and pay
15 claims in accordance with the terms of the Settlement Agreement.

16        13.      To the extent Claim payments are increased or decreased on a pro rata
17 basis, such payment adjustments shall be made in accordance with the terms of the

18 Settlement Agreement.

19        14.      Settlement Claim checks that are not cashed within 120 days after
20 issuance will be reissued by the Settlement Administrator. If the reissued check

21 remains uncashed for 120 days, Class members must request the Settlement

22 Administrator reissue the check again within 120 days.

23        15.      The prepaid Mastercards provided under this Settlement shall be
24 redeemable for at least one year, without any fees charged by Defendants, the

25 Settlement Administrator, or the card issuer. Any balance on the prepaid Mastercard

26 can be transferred by the card holder to their bank account at no fee. The prepaid

27 Mastercards shall indicate their “use by” dates on their face. Class Counsel shall

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 1 confer with Defendants’ counsel concerning additional pro rata payments to Class

 2 members who activated their prepaid Mastercards, cashed their checks, and/or

 3 received digital payments, or cy pres in the event that such payments are

 4 administratively infeasible.

 5        16.    Class members are subject to the claims appeal process provided in the
 6 Settlement Agreement. The Settlement Administrator shall manage the claims appeal

 7 process in accordance with the terms of the Settlement Agreement.

 8        17.    Beginning 30 days after the Notice Date, the Settlement Administrator
 9 shall provide Class Counsel and Defendants with a monthly report regarding Claims

10 received, each Claim’s status, and any final determinations made. Upon request, the

11 Settlement Administrator shall provide Class Counsel and Defendants with a copy of

12 any final determination notice sent, along with the Claim Form, and all other

13 documentation associated with the Claim.

14        18.    Beginning 120 days after the Notice Date, the Settlement Administrator
15 shall provide monthly reports regarding all written requests for appellate review of

16 any Claims. Upon request, the Settlement Administrator shall provide copies of

17 written appeal requests to Class Counsel and copies of any communications

18 concerning such appellate review by the Settlement Administrator. Class Counsel

19 shall have the right to participate in the appeal process, including the right to

20 participate in any written submission or telephonic hearing, but shall not be obligated

21 to participate.

22        19.    90 days after the expiration of the claims period, the Settlement
23 Administrator shall provide Class Counsel and Defendants a report of the number and

24 amount of approved claims. If the Claims fall below the $80 million common fund

25 floor (inclusive of Class Counsel’s attorneys’ fees, costs, and expenses and the $10

26 million credit to Defendants if the total Claims equal or do not exceed $50 million),

27

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 1 Class Counsel shall confer with Defendants to provide guidance to the Settlement

 2 Administrator as to the pro rata increase in payments to be made to Class members.

 3        20.    Any disputes that arise from a Settlement claim determination will be
 4 resolved by the Settlement Administrator, and Class Counsel have the right to

 5 participate in these appeals, review, and comment on all appeals, obtain information

 6 and documents necessary to the appeals, and confer with the Settlement

 7 Administrator regarding appeal determinations. The cost of appeals will be borne by

 8 Defendants.

 9        21.    Class Counsel shall be able to spend reasonable time evaluating appeals
10 and can be reimbursed for actual time spent reviewing those appeals, up to a total cap

11 of $600,000, so long as Class Counsel submit documentation to Hyundai and/or Kia

12 that shows the time spent and identifies the appeals reviewed. These costs shall not be

13 paid from the Common Fund. Instead, Defendants shall be responsible for paying

14 these costs separately and in addition to any fees and costs awarded to Class Counsel.

15        22.    Defendants     shall    be    responsible     for   all    costs   of   Settlement
16 administration. In no event shall Class Counsel, Consumer Plaintiffs’ Counsel, or the

17 Class be responsible for any cost associated with Settlement administration.

18    Approval of the Class Notice Program and Direction to Effectuate the Notice
19        23.    The Court has considered the form and content of the Class notice
20 program and finds that the Class notice program and methodology as described in the

21 Settlement Agreement (a) meet the requirements of due process and Federal Rules of

22 Civil Procedure 23(c) and (e); (b) constitute the best notice practicable under the

23 circumstances to all persons entitled to notice; and (c) satisfies the constitutional

24 requirements regarding notice.

25        24.    In addition, the Court finds the Class notice program: (a) apprises Class
26 members of the pendency of the Action, the terms of the Settlement, their rights and

27 deadlines under the Settlement; (b) is written in simple terminology; (c) is readily

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 1 understandable by Class members; (d) provides sufficient notice of Class Counsel’s

 2 request for attorneys’ fees and costs and service awards to Class Representatives; and

 3 (e) complies with the Federal Judicial Center’s illustrative class action notices.

 4        25.    The Court further approves, as to form and content, the Long Form
 5 Notice and Claim Form, which are attached to Settlement Agreement as Exhibits A

 6 and B, respectively. The Court also approves the establishment of an internet website

 7 for the Settlement, which shall include documents relating to the Settlement, orders of

 8 the Court relating to the Settlement, and such other information as Class Counsel and

 9 Defendants mutually agree would be beneficial to Class members.

10        26.    No later than March 4, 2024, Defendants shall cause notice to the
11 Settlement Class to be disseminated by U.S. mail (for current Class Vehicle owners

12 and lessees as reflected in DMV databases), email (for Class members whose

13 information Defendants have), and the dedicated Settlement website (with a link to

14 the dedicated Settlement website from both the Hyundai and Kia main U.S.

15 webpages).

16        27.    Defendants shall be responsible for all costs of Class notice. In no event
17 shall Class Counsel, Consumer Plaintiffs’ Counsel, or the Settlement Class be

18 responsible for any cost associated with Class notice.

19                   Final Approval Hearing, Opt-Outs, and Objections
20        28.    The Final Approval Hearing is set for July 15, 2024, at 1:30 p.m. The
21 Final Approval Hearing will be held in the courtroom of the Honorable James V.

22 Selna, located at the Ronald Reagan Federal Building and U.S. Courthouse, 411 West

23 4th Street, Courtroom 10C, Santa Ana, California 92701, to consider, inter alia, the

24 following: (a) whether the Settlement Class should be certified for settlement

25 purposes; (b) whether the Settlement and Settlement Agreement should be finally

26 approved as fair, reasonable and adequate; and (c) whether to grant Class Counsel’s

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 1 motion for an award of attorneys’ fees and expenses and request for Class

 2 Representative service awards.

 3        29.    Class members who wish to be excluded from the Settlement Class may
 4 make a request for exclusion by submitting such request in writing (via U.S. mail or

 5 express mail carrier, or through the Settlement website) as set forth in the Settlement

 6 Agreement and Long Form Notice.

 7        30.    Class members who want to mail their exclusion request must send it to
 8 Defense Counsel at the following addresses:

 9
                                          Defense Counsel
10                                       Shon Morgan
11                          Quinn Emanuel Urquhart & Sullivan, LLP
                                 865 S. Figueroa St., 10th Floor
12                               Los Angeles, California 90017
13

14        31.    Class members who timely and validly exclude themselves from the
15 Settlement Class shall not be bound by the Settlement Agreement, the Settlement, or

16 the Final Approval Order and Judgment. If a Class member files a request for

17 exclusion, they may not assert an objection to the Settlement.

18        32.    Any Class member that does not properly and timely exclude themself
19 from the Settlement Class shall remain a Class member and shall be bound by all the

20 terms and provisions of the Settlement Agreement, the Settlement, and the Final

21 Approval Order and Judgment, whether or not such Class member objected to the

22 Settlement.

23        33.    Class members must submit their exclusion request no later than May 3,
24 2024. Failure to provide each required element identified in the Long Form Notice

25 may result in the rejection of the request for exclusion.

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 1         34.   Beginning on April 3, 2024, Defendants shall report to Class Counsel on
 2 a weekly basis the names of all Class members who have submitted a request for

 3 exclusion.

 4         35.   Any Class member who has not requested exclusion may object, if they
 5 wish, to the Settlement and/or attorneys’ fees, costs, and service award requests.

 6 Objections must be sent by first-class mail to each of the below addresses for Class

 7 Counsel and Defense Counsel and postmarked no later than May 3, 2024. Objections

 8 submitted after this date will not be considered.

 9
                                             Class Counsel
10                                        Steve W. Berman
                                  Hagens Berman Sobol Shapiro LLP
11                                       1301 Second Ave.
12                                           Suite 2000
                                         Seattle, WA 98101
13                                      steve@hbsslaw.com

14                                          Defense Counsel
15                                          Shon Morgan
                               Quinn Emanuel Urquhart & Sullivan, LLP
16                                  865 S. Figueroa St., 10th Floor
                                      Los Angeles, California 90017
17

18
           36.   For an objection to be considered by the Court, the objection must
19
     comply with the terms of the Settlement Agreement and the Long Form Notice.
20
           37.   No objection that fails to satisfy these requirements and any other
21
     requirements found in the Long Form Notice shall be considered by the Court.
22
           38.   Class Counsel or Defense Counsel, at their discretion, may notice such
23
     objecting person for and take his, her, or their deposition consistent with the Federal
24
     Rules of Civil Procedure at an agreed-upon location, and may seek any documentary
25
     evidence or other tangible things that are relevant to the objection. Failure by an
26
     objector to make himself, herself, or themselves available for a deposition or comply
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 1 with expedited discovery requests may result in the Court striking the objection and

 2 otherwise denying that person the opportunity to be heard.

 3        39.     The Court may take such action it deems just and appropriate, including
 4 taxing the costs of any such discovery to the objector or the objector’s counsel,

 5 should the Court determine that the objection is frivolous or made for improper

 6 purpose.

 7        40.     Consumer Plaintiffs shall file their motion for final approval, which shall
 8 include their response to validly submitted objections (if any), and Class Counsel’s

 9 motion for an award of attorneys’ fees and expenses and request for Class

10 Representative service awards, no later than April 18, 2024. Copies of Consumer

11 Plaintiffs’ motion for final approval and Class Counsel’s motion for an award of

12 attorneys’ fees and expenses and request for Class Representative service awards

13 shall be posted on the Settlement website.

14        41.     If the objecting Class member intends to appear, in person or by counsel,
15 at the final approval hearing, the objecting Class member must so state in the

16 objection. Any Class member who does not state his, her, or their intention to appear

17 in accordance with the applicable deadlines and other specifications, or who has not

18 filed an objection in accordance with the applicable deadlines and other

19 specifications, will be deemed to have waived any objections to the Settlement

20 Agreement and can be barred from speaking or otherwise presenting any views at the

21 Final Approval Hearing.

22        42.     A Class member may also request to speak at the Final Approval
23 Hearing by sending a letter saying that it is their “Notice of Intention to Appear in In

24 re: Kia Hyundai Vehicle Theft Marketing, Sales Practices, and Products Liability

25 Litigation, No. 8:22-ML-3052 JVS(KESx) (C.D. Cal.).” A Class member’s Notice of

26 Intention to Appear must include their name, address, telephone number, the model

27 year and VIN for their Class Vehicle(s), and signature, as well as the identities of any

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 1 attorneys who will represent them. A Class member’s Notice of Intention to Appear

 2 must be postmarked no later than May 10, 2024, and be sent to each of the above

 3 addresses for Class Counsel and Defense Counsel.

 4        43.   The deadlines set forth in this Order, including the date and time of the
 5 Final Approval Hearing, shall be subject to extension by the Court without further

 6 notice to the Class members other than that which may be posted at the Court, and/or

 7 the Settlement website. Class members should check the Settlement website regularly

 8 for updates and further details regarding the Settlement and extensions of the

 9 deadlines thereunder.

10        44.   The Court retains jurisdiction to consider all further applications arising
11 out of or in connection with the Settlement. The Court may approve the Settlement,

12 with such modifications as may be agreed to by the Parties to the Settlement, if

13 appropriate, without further notice to the Settlement Class, except that notice of such

14 modifications shall be posted on the Settlement website.

15                              Stay/Bar of Other Proceedings
16        45.   Pending the Final Approval Hearing and the Court’s decision whether to
17 finally approve the Settlement, all proceedings in the Action related to the Consumer

18 Plaintiffs’ claims, other than proceedings necessary to carry out or enforce the

19 Settlement Agreement or this Order, are stayed and suspended, until further order by

20 this Court. The Court further enjoins potential Class members from challenging in

21 any action or proceeding any matter covered by this Settlement Agreement, except

22 for proceedings in this Court to determine whether the Settlement Agreement will be

23 given final approval. Pursuant to 28 U.S.C. § 1651(a) and 2283, the Court finds that

24 issuance of this preliminary injunction is necessary and appropriate in aid of the

25 Court’s continuing jurisdiction and authority over the Action. Upon final approval of

26 the Settlement, all Class members who do not timely and validly exclude themselves

27 from the Settlement Class shall be forever enjoined and barred from asserting any of

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 1               b) The Court rejects, modifies, or denies approval of any portion of the
 2                   Settlement Agreement or the Settlement that results in a substantial
 3                   modification to a material term of the Settlement Agreement; or
 4               c) The Court, or any appellate court(s), does not enter or completely
 5                   affirm, or alters, narrows, or expands, any portion of the Final
 6                   Approval Order and Judgment, that results in a substantial
 7                   modification to a material term of the proposed Settlement or
 8                   Settlement Agreement.
 9         48.   The Parties agree to act in good faith to secure Final Approval of this
10 Settlement Agreement and to attempt to address in good faith concerns regarding the

11 Settlement identified by the Court and any appellate court.

12         49.   If the Settlement Agreement is terminated by the Parties, the Parties
13 shall be restored to their respective positions existing immediately before the

14 execution of the Agreement, except that the Parties shall cooperate in requesting that

15 the Court set a new scheduling order such that no Party’s substantive or procedural

16 rights are prejudiced by the settlement negotiations and proceedings.

17         50.   If the Settlement Agreement is not finally approved by the Court or is
18 terminated for any reason (in whole or in part) the Settlement will be rescinded and

19 will be without further legal effect. The Parties will then litigate the lawsuit as if this

20 Settlement had never occurred, without prejudice to any claims or defenses they may

21 have. Under Fed. R. Evid. 408, the Settlement, the Settlement Agreement, and all

22 related briefing, arguments, transcripts, and documents will be inadmissible in any

23 proceeding to prove or disprove the validity of any claim, defense, or allegation

24 asserted in the Action. The provisional certification of the Settlement Class pursuant

25 to this Order shall be vacated automatically and the Action shall proceed as though

26 the Settlement Class had never been certified. The Parties shall have all the rights,

27 defenses, and obligations they would have had absent the Settlement Agreement.

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 1                                        General Provisions
 2          51.   All written communications to multiple Class members with respect to
 3 this Settlement Agreement are to be reviewed and approved by Class Counsel and the

 4 Court, and Class Counsel agree to abide by that provision as may be required by the

 5 Court.

 6          52.   The Parties are authorized to take all necessary and appropriate steps to
 7 establish the means necessary to implement the Settlement Agreement. Class Counsel

 8 and Defense Counsel are hereby authorized to use all reasonable procedures in

 9 connection with approval and administration of the Settlement that are not materially

10 inconsistent with this Order or the Settlement Agreement, including making, without

11 further approval of the Court, minor changes to the Settlement Agreement, to the

12 form or content of the Class Notice or to any other exhibits that the Parties jointly

13 agree are reasonable or necessary.

14          53.   The terms and provisions of the Settlement Agreement may be amended,
15 modified, or expanded by written agreement of the Parties and approval of the Court;

16 provided, however, that after entry of the Final Approval Order and Judgment, the

17 Parties may by written agreement effect such amendments, modifications, or

18 expansions of this Settlement Agreement and its implementing documents (including

19 all exhibits) without further notice to the Settlement Class or approval by the Court if

20 such changes are consistent with the Court’s Final Approval Order and Judgment and

21 do not limit the rights of Class members under the Settlement Agreement.

22

23

24 IT IS SO ORDERED.

25

26 Date: October 31, 2023                       ____________________________
27                                              Hon. James V. Selna
                                                United States District Court
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                                                    19
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